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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 MICHAEL D. ROSE and EDWARD L.
 HARMON, on their own behalf and on behalf
 of all others similarly situated,

                       Plaintiffs,                    Civil Action No.: 5:22-cv-00405
 v.

 BETSY JIVIDEN, individually and in her
 official capacity as the Commissioner of the
 West Virginia Division of Corrections and
 Rehabilitation, et al.,


                       Defendants.


DEFENDANTS BETSY JIVIDEN, BRAD DOUGLAS, AND JEFF SANDY’S RESPONSE
        IN OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE TO
                      AMEND THE COMPLAINT

        COMES NOW Defendants Betsy Jividen, Brad Douglas, and Jeff Sandy (collectively

“Defendants”), by and through counsel William E. Murray, Jaden P. Rhea, and the law firm of

Anspach Meeks Ellenberger LLP, and file their Response to Plaintiffs’ Motion for Leave to Amend

the Complaint. [ECF No 30.] Defendants oppose this Motion and state as follows:

        Plaintiffs have moved to amend their Amended Complaint to add additional claims, an

additional party, and an additional subclass relating to violations of the Americans With

Disabilities Act. However, Plaintiffs have failed to attach of copy of this proposed second

Amended Complaint to their motion which prevents both Defendants and this Court from

adequately evaluating this motion under the applicable standards.

        Amendments to the complaint are governed by Rule 15 of the Federal Rules of Civil

Procedure. Rule 15(a)(1) addresses amendments as a matter of course, allowing the plaintiff

to amend the complaint within twenty-one days after serving it on the defendant, or within twenty-
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one days after a responsive pleading or motion to dismiss is filed under Rule 12(b),(e), or (f),

whichever is earlier. Fed. R. Civ. P. 15(a)(1). In this case, Plaintiffs have already amended as a

matter of course. [See ECF No. 7.] As a result, Plaintiffs may only amend the complaint with the

opposing party's written consent, or with leave of court. Fed. R. Civ. P. 15(a)(2). Here, Defendants

do no consent and, therefore, an amendment to the Amended Complaint requires leave of court.

       Further, Rule 15(a)(2) directs that the court should “freely give leave” to file an amended

complaint “when justice so requires.” See also Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006)

("This liberal rule gives effect to the federal policy in favor of resolving cases on their merits

instead of disposing of them on technicalities."). Generally, leave to amend should be denied

“only when the amendment would be prejudicial to the opposing party, there has been bad faith

on the part of the moving party, or the amendment would have been futile.” Johnson v. Oroweat

Foods Co., 785 F.2d 503, 509 (4th Cir. 1986).                  An amendment is futile “if the

proposed amended complaint fails to satisfy the requirements of the federal rules.” U.S. ex rel.

Wilson v. Kellogg Brown & Root, Inc., 525 F.3d 370, 376 (4th Cir. 2008) (quoting United States

ex rel. Fowler v. Caremark RX, LLC, 496 F.3d 730, 740 (7th Cir. 2007), overruled on other

grounds by Glaser v. Wound Care Consultants, Inc., 570 F.3d 907 (7th Cir. 2009)). “In

determining whether a proposed amendment is futile, a court may consider whether the proposed

amendment could withstand a motion to dismiss.” Middlebrooks v. St. Coletta of Greater Wash.,

Inc., No. 1:10CV653, 2010 U.S. Dist. LEXIS 90752, at *2 (E.D. Va. Sept. 1, 2010) (citing Perkins

v. United States, 55. F .3d 910, 917 (4th Cir. 1995)) (affirming denial of plaintiff's motion for leave

to amend her complaint as futile because “the proposed amendments could not withstand a motion

to dismiss.”); also Johnson, 785 F.2d at 510 (holding that a motion for leave to amend should be

denied “when the proposed amendment is clearly insufficient or frivolous on its face.”) (citing




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Davis v. Piper Aircraft Corp., 615 F.2d 606, 613 (4th Cir. 1980); Gaskins v. Edelen, No. 2:19-cv-

00472, 2021 U.S. Dist. LEXIS 251519, at *8 (S.D. W. Va. Nov. 10, 2021), aff’d 2022 U.S. Dist.

LEXIS 12278 (J., Copenhaver).

        Here, Plaintiffs have failed to attach a copy of the proposed amended complaint. Further,

their Memorandum in Support is very brief and provides little to no information about the new

proposed complaint. As a result, neither Defendants nor this Court can properly evaluate this

Motion to determine if it meets these standards. Defendants are unable to determine if this

amendment would be prejudicial, is made in bad faith, or if it is futile. Johnson, 785 F.2d at 509.

Accordingly, Defendants oppose Plaintiffs’ motion and move this Court to deny Plaintiffs leave

to amend their Amended Complaint because their motion is deficient and unable to be evaluated

on its merits.

        WHEREFORE, based on the foregoing, Defendants Betsy Jividen, Brad Douglas, and

Jeff Sandy move this Court to DENY Plaintiffs’ Motion, [ECF No. 30], and to grant such other

relief as the Court deems just and proper.



                                             BETSY JIVIDEN, BRAD DOUGLASS, and
                                             JEFF SANDY

                                             By Counsel


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                     IN THE UNITED STATES DISTRICT COURT
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 MICHAEL D. ROSE and EDWARD L.
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 BETSY JIVIDEN, individually and in her
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 West Virginia Division of Corrections and
 Rehabilitation, et al.,


                       Defendants.


                                CERTIFICATE OF SERVICE

        I, the undersigned, counsel for Defendants Betsy Jividen, Brad Douglas, and Jeff Sandy do

hereby certify that on this 28th day of November, 2022, I electronically filed the foregoing

“Defendants Betsy Jividen, Brad Douglas, and Jeff Sandy’s Response in Opposition to

Plaintiffs’ Motion for Leave to Amend the Complaint” with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to the following CM/ECF participants:


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